Case 3:16-md-02738-MAS-RLS Document 27045-3 Filed 08/28/23 Page 1 of 4 PageID:
                                 163572




                          EXHIBIT C
Case 3:16-md-02738-MAS-RLS Document 27045-3 Filed 08/28/23 Page 2 of 4 PageID:
                                 163573




                      UNITED STATES DISTRICT COURT FOR THE
                         FOR THE DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                        MDL No. 3: 16-md-2738-MAS-LHG
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                          JUDGE MICHAEL A. SHIPP
  LITIGATTON                                      MAG. ruDGE LOIS H. GOODMAN



  THIS DOCUMENT RELATES TO:                       Civil Case No. 3 :20-cv-037 97 -MAS-LHG

  DIANA LYI\N LIPTON v. JOHNSON &
  JOHNSON, et al.



             DECI,ARATION OF' HEIDI M o XON MORISHITA AS
     CO.SIICCESSOR-IN.INTEREST PURSU ANT TO CAI,IT'ORNIA CODE OF
                   CIVIL PROCEDURE SECTION 377.32

  I, Heidi Moxon Morishita, declare as follows:

     1. The decedent in this matter is Diana Lynn Lipton. She was my sister.

     2. Diana Lynn Lipton died of ovarian cancer on December 8, 2022, in Santa Rosa,
        California.

     3. A true and correct copy of the death certificate, with social security number
        redacted, is attached as Exhibit A to the instant Motion to Substitute

        Party-Plaintiff.

     4. "No proceeding is now pending in California for administration of the decedent's
        estate."
Case 3:16-md-02738-MAS-RLS Document 27045-3 Filed 08/28/23 Page 3 of 4 PageID:
                                 163574




     5. I am one of the decedent's successors-in-interest (as defined by section 377.11 of

        the California Code of Civil Procedure) and a co-successor, along with my

        siblings Evelyn Willner, Linda Moxon, and Bennett Moxon, to the decedent's

        interest in this action.

     6. No other person has a superior right to commence the action or proceeding or to

        be substituted for the decedent in the pending action or proceeding.


        I declare under penalty of perjury under the laws of the State of California that the

        foregoing is true and correct and that this declaration was executed in
             Valencia
        -------------� California on the date specified below.




  Dated: August 24 , 2023
                                                   Heidi Moxon Morishita
 Case 3:16-md-02738-MAS-RLS Document 27045-3 Filed 08/28/23 Page 4 of 4 PageID:
                                  163575


CCP 377 .32 Declaration of Heidi l\/oxon
lMorishita
FinalAudit Report                                                                  2023-08-24

  Created:                 2023-08-24

  By:                      Wafter Walker fiess@whk-law.com)

  Status:                  Signed

  Transaction lD:          CBJCHBC MBMZBePnAG-Yf HSTlncC)Qfl yeLaDkgRTP




"CCP 377.32 Declaration of Heidi Moxon Morishita" History
t) Document created by Walter Walker (jess@whk-law.com)
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ri:p Signer hhpartnersl 1 1@gmail.com entered name at signing as Heidi morishita
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ft Document e-signed by Heidi morishita (hhpartnersl 1@gmail.com)1

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